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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


  CYWEE GROUP LTD.,                             §
                                                §
         Plaintiff,                             §
                                                §
         v.                                     §
                                                §
  HUAWEI DEVICE CO. LTD., HUAWEI                §         Case No. 2:17-CV-495-WCB
  DEVICE (DONGGUAN) CO. LTD., and               §
  HUAWEI DEVICE USA, INC.,                      §
                                                §
         Defendants.                            §


                          MEMORANDUM OPINION AND ORDER

         Before the Court is Huawei’s Motion to Stay CyWee’s Claims Against the Google Nexus

  6P, Dkt. No. 77. The motion is GRANTED.

                                        BACKGROUND

         Plaintiff CyWee Group Ltd. (“CyWee”), owns U.S. Patent Nos. 8,441,438 (“the ’438

  patent”) and 8,552,978 (“the ’978 patent”), both of which are directed to three-dimensional

  pointing devices and associated methods for accurately transforming a device’s movement into

  representations on a display. The claims of the two patents recite software algorithms that use

  signals from hardware sensors to produce the desired result, referred to as “sensor fusion”

  technology.

         CyWee has asserted claims 1, 3, 4, 5, 14–17, and 19 of the ’438 patent and claims 10 and

  12 of the ’978 patent against defendants Huawei Device Co, Ltd.; Huawei Device Dongguan Co.

  Ltd.; and Huawei Device USA, Inc. (collectively “Huawei”). Dkt. Nos. 1, 62. CyWee alleges

  that several products manufactured by Huawei—including the Huawei Mate 9, Huawei



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  MediaPad M2 10.0, Huawei Honor 8, Huawei Mate 10, Huawei Mate 10 Pro, Huawei Mate 10

  Porsche, and Google Nexus 6P (“the accused products”)—infringe the two patents at issue. Dkt.

  No. 62, ¶¶ 26, 162. Representative claim 1 of the ’438 patent recites:

         1. A three-dimensional (3D) pointing device subject to movements and rotations
             in dynamic environments, comprising:
         a housing associated with said movements and rotations of the 3D pointing device
             in a spatial pointer reference frame;
         a printed circuit board (PCB) enclosed by the housing;
         a six-axis motion sensor module attached to the PCB, comprising a rotation sensor
             for detecting and generating a first signal set comprising angular velocities ωx,
             ωy, ωz associated with said movements and rotations of the 3D pointing device
             in the spatial pointer reference frame, an accelerometer for detecting and
             generating a second signal set comprising axial accelerations Ax, Ay, Az
             associated with said movements and rotations of the 3D pointing device in the
             spatial pointer reference frame; and
         a processing and transmitting module, comprising a data transmitting unit
             electrically connected to the six-axis motion sensor module for transmitting said
             first and second signal sets thereof and a computing processor for receiving and
             calculating said first and second signal sets from the data transmitting unit,
             communicating with the six-axis motion sensor module to calculate a resulting
             deviation comprising resultant angles in said spatial pointer reference frame by
             utilizing a comparison to compare the first signal set with the second signal set
             whereby said resultant angles in the spatial pointer reference frame of the
             resulting deviation of the six-axis motion sensor module of the 3D pointing
             device are obtained under said dynamic environments, wherein the comparison
             utilized by the processing and transmitting module further comprises an update
             program to obtain an updated state based on a previous state associated with
             said first signal set and a measured state associated with said second signal set;
             wherein the measured state includes a measurement of said second angle set
             and a predicted measurement obtained based on the first signal set without
             using any derivatives of the first signal set.

         Representative claim 10 of the ’978 patent recites:

         10. A method for compensating rotations of a 3D pointing device, comprising:
         generating an orientation output associated with an orientation of the 3D pointing
           device associated with three coordinate axes of a global reference frame
           associated with Earth;
         generating a first signal set comprising axial accelerations associated with
           movements and rotations of the 3D pointing device in the spatial reference frame;
         generating a second signal set associated with Earth's magnetism;
         generating the orientation output based on the first signal set, the second signal set
           and the rotation output or based on the first signal set and the second signal set;

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             generating a rotation output associated with a rotation of the 3D pointing device
               associated with three coordinate axes of a spatial reference frame associated with
               the 3D pointing device; and
             using the orientation output and the rotation output to generate a transformed output
               associated with a fixed reference frame associated with a display device, wherein
               the orientation output and the rotation output is generated by a nine-axis motion
               sensor module; obtaining one or more resultant deviation including a plurality of
               deviation angles using a plurality of measured magnetisms Mx, My, Mz and a
               plurality of predicted magnetism Mx′, My′ and Mz′ for the second signal set.

             CyWee alleges that each of the accused products contains the claimed structural hardware

  and runs a version of the Android operating system—an open-source platform developed by

  Google LLC—containing sensor fusion algorithms capable of practicing the claimed function

  and method steps of the claims. Dkt. No. 62, ¶¶ 38–147.

             Ten months after initiating this action against Huawei, CyWee filed a separate action

  against Google in the United States District Court for the District of Delaware, alleging that four

  Google Pixel devices (each running a version of Android) infringe the ’438 and ’978 patents.

  CyWee Grp. Ltd. v. Google LLC, 1:18-CV-571, Dkt. No. 1 (D. Del. Apr. 16, 2018). Google

  answered and filed counterclaims including a counterclaim for a declaratory judgment that the

  Nexus 6P does not infringe the ’438 and ’978 patents. CyWee v. Google, Dkt. No. 12, ¶¶ 28-41

  (D. Del. June 11, 2018). As part of its counterclaim, Google stated that “Huawei does not

  develop, maintain, or update the sensor algorithms on the Nexus 6P,” and that the sensor

  “algorithms on the Nexus 6P are developed by Google.” CyWee v. Google, Dkt. No. 12, ¶ 9.

  Thus, as things now stand, CyWee is presented with two opportunities to address whether the

  Nexus 6P infringes the ’438 and ’978 patents in two different venues and against two different

  parties.




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         Huawei subsequently filed a motion, opposed by CyWee, that this Court stay CyWee’s

  claim that the Nexus 6P infringes the ’438 and ’978 patents in light of Google’s pending

  counterclaim in the Delaware action. 2:17-CV-495, Dkt. Nos. 77, 81.

                                            DISCUSSION

         The Court grants Huawei’s motion to stay on the ground that the factors analyzed in

  considering a motion to stay weigh in Huawei’s favor, and alternatively, on the ground that

  Huawei falls within the customer suit exception in this case.

         1. The Standard Three-Factor Test

         As a general rule, when two cases are filed in two different districts and the issues in the

  two cases substantially overlap, the first-filed action has priority. Tegic Commc’ns Corp. v. Bd.

  of Regents of Univ. of Tex. Sys., 458 F.3d 1335, 1343 (Fed. Cir. 2006); Lodsys, LLC v. Brother

  Int’l Corp., No. 2:11-CV-90, 2013 WL 1338767, at *11 (E.D. Tex. Jan. 14, 2013); see Save

  Power Ltd. v. Syntek Fin. Corp., 121 F.3d 947, 950–51 (5th Cir. 1997) (noting that the first-filed

  rule does not require that the cases or parties be identical, as long as the substantive issues

  substantially overlap). In the Fifth Circuit, “the court in which an action is first filed is the

  appropriate court to determine whether subsequently filed cases involving substantially similar

  issues should proceed.” Save Power, 121 F.3d at 950. This rule is “grounded in principles of

  comity and sound judicial administration” id., and is intended “to avoid the waste of duplication,

  to avoid rulings which may trench upon the authority of sister courts, and to avoid piecemeal

  resolution of issues that call for a uniform result.” West Gulf Maritime Ass’n v. ILA Deep Sea

  Local 24, 751 F.2d 721, 729 (5th Cir. 1985).

         When faced with a motion to stay litigation of an issue in the first-filed case, this Court

  considers: “(1) whether a stay will unduly prejudice or present a clear tactical disadvantage to the



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  nonmoving party; (2) whether a stay will simplify the issue in question and trial of the case; and

  (3) whether discovery is complete and whether a trial date has been set.” Soverain Software LLC

  v. Amazon.com, Inc., 356 F. Supp. 2d 660, 662 (E.D. Tex. 2005). Huawei has shown that, on

  balance, those factors weigh in favor of a stay.

          As to the first factor—whether a stay will prejudice the nonmoving party—Huawei has

  shown that CyWee will not be significantly prejudiced in a way that warrants denying the

  motion. As Huawei notes, CyWee chose the forums in which to file both actions, and selected

  the District of Delaware as its preferred forum for the second action, so it has no ground to

  complain of forum shopping. Dkt. No. 77, at 8-9. The only prejudice CyWee alleges it would

  suffer from the stay is that the Delaware action is likely to take “considerably longer to resolve

  than the instant case.” Dkt. No. 81, at 7. As evidence, CyWee cites the fact that the Delaware

  action was initiated ten months after the present action, and that the District of Delaware has a

  median time to trial that is approximately seven months longer than the median time to trial in

  this district. Id. at 7–8.

          CyWee is correct that a plaintiff’s interest in the prompt enforcement of its patent rights

  is entitled to weight, but the interest in timely enforcement is “present in every case in which a

  patentee resists a stay, and it is therefore not sufficient, standing alone, to defeat a stay motion.”

  NFC Tech. LLC v. HTC Am., Inc., No. 2:13-CV-1058, 2015 WL 1069111, at *2 (E.D. Tex. Mar.

  11, 2015). While this factor weighs somewhat in CyWee’s favor, the Court concludes that in

  this case the other factors outweigh any potential prejudice resulting from a delay in enforcing

  CyWee’s patent rights.

          As to the second factor—whether a stay will simplify the issues in this case—Huawei has

  demonstrated that it will. Huawei alleges that the “case in Delaware will fully resolve the core



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  issue of whether the Google Nexus 6P infringes each asserted claim.” Dkt. No. 77, at 9.

  Furthermore, it appears that a stay would obviate the need for non-party discovery from Google.

  In addition, granting the motion for a stay would simplify this case by avoiding the burden of

  requiring the jury to consider infringement by a device containing software that is different from

  the software in the other six accused Huawei-branded products. Id. CyWee responds that a stay

  would fracture litigation, complicating matters and wasting judicial resources, Dkt. No. 81, at 8,

  but it has failed to provide factual support for those assertions.

         The Court notes that some of the asserted claims recite particular structure (such as sensors

  and processors), but all of the asserted claims contain function or method steps associated with

  software. ’438 patent, claims 1, 3, 4, 6, 14–17, and 19; ’978 patent, claims 10 and 12. The

  software-associated function and method steps are central to the infringement inquiry in this case:

  the asserted claims require specific signal generation, calculation, comparison, and output, or

  hardware capable of performing those functions. Id. Huawei asserts that it has the information

  necessary to answer the infringement question as to the six accused Huawei-branded products, as it

  developed both the hardware and sensor fusion algorithms for those devices. See Jia Zeng Decl.,

  Dkt. No. 77-2 (stating that the accused Huawei-branded products contain Huawei-engineered

  sensor fusion algorithms that are not part of the open-source version of Android). But Huawei

  states that it does not have the information necessary to defend against the infringement claims

  as to the Nexus 6P. Huawei has provided a statement from Google that Huawei does not possess

  the information necessary to address the infringement charges as to the Nexus 6P, as it was

  Google that developed the sensor fusion algorithms for that device. See CyWee v. Google, Dkt.

  No. 12, ¶ 9 (“Huawei does not develop, maintain, or update the sensor algorithms on the Nexus




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  6P,” and the sensor “algorithms on the Nexus 6P are developed by Google.”). CyWee has offered

  nothing to rebut either assertion.

          Importantly, Huawei has agreed to be bound by the infringement determination in the

  Delaware action. Dkt. No. 82, at 3. Therefore, once the Delaware action is resolved, there

  presumably will be nothing left for this Court to adjudicate as to whether the Nexus 6P infringes

  the ’438 and ’978 patents. 1 Huawei has thus shown that granting the motion to stay would

  simplify the issues in this case, without adding to the burden on the court in the Delaware case.

  This factor thus weighs heavily in Huawei’s favor.

          The third factor—whether discovery is complete and a trial date has been set—also

  weighs in Huawei’s favor. As Huawei points out, discovery in this case is not complete, and

  following a request for additional time for discovery, Dkt. No. 70, the Court entered an amended

  docket control order that did not set a date for trial. Dkt. No. 74. In fact, Huawei reports that

  discovery relating to the Nexus 6P has not even begun. Dkt. No. 77, at 10. CyWee argues that

  this case has “progressed significantly from its filing date: The DCO has issued, initial

  disclosures have been served, interrogatories have been responded to and documents have been

  produced, and CyWee has filed its opening claim construction brief. Further, the parties are

  scheduled for pretrial conference by May 2, 2019.” Dkt. No. 81, at 7. But the steps that have

  already been taken are all preliminary steps taken early in the litigation. In any event, just

  because litigation has advanced to some extent since the filing of the complaint does not mean it



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            CyWee argues that Huawei’s agreement to be bound does not simplify the issues in this
  case, because Huawei can still challenge the validity of the ’438 and ’978 patents. The Court
  disagrees. The ’438 and ’978 patents are being asserted against all of the accused devices; the
  validity of the ’438 and ’978 patents will be raised in this case (and, presumably, in the Delaware
  action) regardless of whether the issue of the Nexus 6P infringement remains in this case. The
  evidence of invalidity of the two asserted patents, moreover, is likely to be entirely separate from
  the evidence of infringement by the Nexus 6P.
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  has progressed so far as to preclude a stay.      See NFC Tech., 2015 WL 1069111, at *3, *8

  (granting a motion to stay even though “the parties had engaged in significant discovery, and

  claim construction briefing was complete”). In sum, the third factor weighs at least slightly in

  Huawei’s favor.

         After weighing all of the factors that bear on whether to grant a stay, the Court concludes

  that the balance of the factors favors Huawei. Accordingly, in the exercise of its discretion, this

  Court will grant Huawei’s motion to stay as to the question of whether the Nexus 6P infringes

  the ’438 and ’978 patents, pending completion of the Delaware action.

         2. The Customer Suit Exception

         Huawei also asserts that this Court should grant the motion to stay because the customer

  suit exception applies in this case. Dkt. No. 77, at 5–8. The customer suit exception is an

  exception to the general rule that favors the forum of the first-filed action; it provides that where

  a manufacturer and its customer have both been sued, the action against the manufacturer should

  ordinarily proceed first, regardless of which action was first filed. The customer suit exception

  “is based on the manufacturer’s presumed greater interest [than its customers] in defending its

  actions against charges of patent infringement; and to guard against possibility of abuse.” Kahn

  v. Gen. Motors Corp., 889 F.2d 1078, 1081 (Fed. Cir. 1989)). The guiding principles underlying

  the doctrine are efficiency and judicial economy. Tegic Commc’ns Corp., 458 F.3d at 1343. In

  that regard, a critical question under the customer suit exception “is whether the issues and

  parties are such that the disposition of one case would be dispositive of the other.” Vantage

  Point Tech., Inc. v. Amazon.com, Inc., No. 2:13-CV-909, 2015 WL 123593, at *2 (E.D. Tex. Jan.

  6, 2015) (internal quotation omitted).




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         In determining whether the customer suit exception applies, the court analyzes three

  factors: “(1) whether the customer-defendant in the earlier-filed case is merely a reseller; (2)

  whether the customer-defendant agrees to be bound by any decision in the later-filed case that is

  in favor of the patent owner; and (3) whether the manufacturer is the only source of the

  infringing product.” Id. (citing Tegic Commmc’ns Corp., 458 F.3d at 1333). However, “the

  Court does not apply the factors in a mechanical or precise manner and instead adopts a flexible

  approach in order to assess whether judicial resources will be saved.” Id. (internal quotations

  omitted).

         Huawei argues that the customer suit exception applies in this case because, as an

  original design manufacturer (“ODM”), Huawei merely built the Nexus 6P on behalf of Google.

  Dkt. No. 77, at 3.    And Google, Huawei explains, created the Nexus 6P’s sensor fusion

  algorithms, whose functionality is at the center of the infringement inquiry. Dkt. No. 77, at 6.

  As a result, Huawei contends, Google should be considered the manufacturer of the Nexus 6P,

  and Huawei should be considered a customer for purposes of the customer suit exception. Id.

         CyWee counters that Huawei is the only real manufacturer of the Nexus 6P and cannot be

  considered a customer or “mere reseller.” Dkt. No. 81, at 5–6. CyWee further argues that the

  asserted claims cover the entire Nexus 6P device, not just the sensor fusion algorithms developed

  by Google. Id.

         The Federal Circuit has previously addressed a fact pattern similar to the facts of the

  present case. In In re Google, 588 Fed. App’x 988 (Fed. Cir. 2014), a patentee brought a series

  patent infringement suits in the Eastern District of Texas against several device manufacturers

  who had installed a version of the Android operating system on their devices. The patentee

  alleged that its patents covered aspects of the Android system. Id. at 989. Google, as the



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   proprietor of the Android operating system, filed suit in the Northern District of California

   seeking a declaratory judgment that the Android operating system did not infringe the same

   patents that were asserted against the manufacturers in the Texas actions. Id. The device

   manufacturers then sought to stay the Texas actions pending resolution of Google’s suit in

   California, id., but the district court denied the motions. See, e.g., Rockstar Consortium U.S. LP

   v. ASUStek Computer, Inc., No. 2:13–cv–894, 2014 WL 3735831, at *4–5 (E.D.Tex. Jul. 28,

   2014). The manufacturers then sought a writ of mandamus to require the district court to stay the

   proceedings pending the outcome of the declaratory judgment suit in the Northern District of

   California.

          The Federal Circuit issued the writ. After noting the substantial similarity between the

   competing actions, the court rejected the contention that a device manufacturer’s hypothetical

   ability to customize the Android platform placed such suits outside the usual customer-suit

   exception. The court also rejected the respondent’s argument that the manufacturers of Android

   devices could not be considered “mere resellers” of the Android software. 588 F. App’x at 990.

   The court concluded that the stay should have been granted, leaving it to the district court in the

   Northern District of California to address the issue of patent infringement in the action brought

   by Google. Id. at 992.

          Even though In re Google was a non-precedential order, the Federal Circuit’s analysis in

   that case is both persuasive and indicative of how the Federal Circuit is likely to view such an

   issue in the future.     In this case, as in Google, the issue on which Huawei seeks a stay

   substantially overlaps with the parallel issue in the Delaware action, and the Federal Circuit’s

   reasoning in that case is equally applicable here.




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          Beyond that, Huawei contends that, as an ODM, it received the sensor fusion algorithms

   from Google—without which the alleged infringement by the Nexus 6P would not be possible—

   and loaded the algorithms onto the Nexus 6P at the direction of Google. CyWee v. Google, Dkt.

   No. 12 ¶ 9; Dkt. No. 77, at 3, 6. Huawei’s relationship with Google and the actions taken by

   each party thus appear to render Huawei a “mere reseller” for the purposes of the customer suit

   exception.

          Finally, Huawei has formally agreed to be bound any infringement determination in the

   Delaware action, Dkt. No. 82, at 3, and neither party has asserted that there are any other sources

   of the infringing product other than through the combined efforts of Google and Huawei. The

   Court therefore concludes that the rationale of the customer suit exception applies to a case such

   as this one, in which a device manufacturer installs software central to an infringement inquiry

   made by a third party. On that ground as well, the Court considers that a stay is warranted.

   Accordingly, Huawei’s motion to stay CyWee’s claims against the Google Nexus 6P is

   GRANTED.

          IT IS SO ORDERED.

          SIGNED this 22nd day of August, 2018.




                                                _____________________________
                                                WILLIAM C. BRYSON
                                                UNITED STATES CIRCUIT JUDGE




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